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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

 IN RE PORK ANTITRUST                               No. 0:18-cv-01776-JRT-HB
 LITIGATION

                                               DEFENDANT SMITHFIELD FOODS,
 This Document Relates To: All Actions         INC.’S REPORT REGARDING
                                               OUTCOME OF PARTIES’ MEET-
                                               AND-CONFER PROCESS ON NON-
                                               PARTY SUBPOENAS TO
                                               COMMUNICATIONS CARRIERS


       On January 23, 2021, Smithfield Foods, Inc. filed a Motion for Protective Order

Regarding Plaintiffs’ Non-Party Subpoena to Verizon Wireless (ECF No. 651)

(“Motion”).

       On January 25, this Court entered an Order on that Motion (ECF No. 656). The

Court’s Order instructed: (1) the parties to continue their meet-and-confer efforts; (2)

Smithfield to file a statement by January 27 reporting on the outcome of the parties’

discussions; (3) Smithfield to file a notice of hearing; and (4) Smithfield to fax a copy of

that Order to Verizon so that Verizon would defer producing records until further Order

of this Court.

       Smithfield hereby updates the Court on the outcome of the parties’ continued

discussions over the Motion.

       As soon as counsel for Smithfield saw the Court’s Order, counsel sent a copy of

the Order to Verizon to ensure that Verizon did not produce any records pending further

order from this Court.
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       From January 25-27, the parties exchanged correspondence in an attempt to

resolve the disputes raised in the Motion. As a result of those exchanges, Smithfield now

reports to the Court that the parties have reached an agreement. The details of the

parties’ agreement are being provided to the Court in the Stipulation and Proposed Order

that are being filed concurrently with this Report. Because the parties have reached an

agreement, Smithfield believes that a notice of hearing is no longer necessary.



 Dated: January 27, 2021                        /s/ Brian Robison
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                               CERTIFICATE OF SERVICE

         The undersigned certifies that on this 27th day of January, 2021, all counsel of record

are being served with a copy of this document via the Court’s ECF System.



                                                /s/ Brian Robison
                                                Brian Robison

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